         Case 5:24-cr-00245-KK                    Document 12              Filed 11/05/24          Page 1 of 14 Page ID #:39
                   UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
                               CRIMINAL MINUTES – $55$,*10(17


Case No.      5:24-cr-00245-KK                                                                              Date: 11/5/2024
Present: The+RQRUDEOH Shashi H. Kewalramani, United States Magistrate Judge
Interpreter                                                                            /DQJXDJH

Dana Cisneros                                           CourtSmart RS No. 4                              Mitchell Sulliman
                    Deputy Clerk                                   Court Reporter / Recorder                    Assistant U.S. Attorney


 U.S.A. v. Defendant(s)       ✔   Present In Custody                               Attorneys for Defendants:   ✔   Present

Lisa Puente-1; Arthur Marquez-2                                                  Mariah Holder, DFPD; David J. Kaloyanides, CJA
Proceedings: $UUDLJQPHQWRI                     $VVLJQPHQWRI&DVH            ✔    $SSRLQWPHQWRI&RXQVHO
'HIHQGDQWDQGRU                            ✔   ,QLWLDO$SSHDUDQFH

* Defendant(s) Lisa Puente-1; Arthur Marquez-2 states true name is the name on the charging document.
* Defendant(s) Lisa Puente-1; Arthur Marquez-2 is advised that he/she is not required to make a statement and
that anything said at the arraignment proceeding may be used against the defendant in subsequent proceedings.
* The Court appoints:
    Mariah Holder (DFPD), as counsel for Defendant Lisa Puente for all further proceedings
    David J. Kaloyanides (CJA), as counsel for Defendant Arthur Marquez for all further proceedings.
* Financial affidavits are submitted and ordered filed UNDER SEAL.
* Defendant(s) Lisa Puente-1; Arthur Marquez-2 are given copy of charging document.
* Defendant(s) Lisa Puente-1; Arthur Marquez-2 acknowledges having read the charging document and
discussed it with counsel.
* Court asks whether the defendant(s) Lisa Puente-1; Arthur Marquez-2 formally waives a detailed reading of
the charging document, and defendant(s) Lisa Puente-1; Arthur Marquez-2 waives reading thereof.
* Court acknowledges waiver of a detailed reading of the charging document and ascertains that the
defendant(s) Lisa Puente-1; Arthur Marquez-2 understands the nature of the charges and the possible penalties.
* Defendant(s) Lisa Puente-1; Arthur Marquez-2 pleads "not guilty" to all counts of the charging document.
* This case is assigned to Judge Kenly Kiya Kato.
* It is ordered that the following date(s) and time(s) are set:
    Jury Trial: 12/30/2024 at 8:30 AM
    Pre-trial Conference: 12/12/2024 at 1:30 PM
    Motion Hearing: 12/12/2024 at 1:30 PM

* Government counsel provides trial estimate of 7-10 Days


cc36$/$✔ 36$(' 36$6$
860/$             ✔ 860('            8606$             ,QLWLDO$SSHDUDQFH$SSRLQWPHQWRI&RXQVHO              : 55
6WDWLVWLFV&OHUN                      ,QWHUSUHWHU                                       $UUDLJQPHQW            :4
&-$6XSHUYLVLQJ$WWRUQH\                )LVFDO
                                                                                            Initials of Deputy Clerk DC


CR-11$                                               Criminal Minutes – $UUDLJQPHQW                                                       3DJH
         Case 5:24-cr-00245-KK                    Document 12              Filed 11/05/24          Page 2 of 14 Page ID #:40
                   UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
                               CRIMINAL MINUTES – $55$,*10(17


Case No.      5:24-cr-00245-KK-2                                                                            Date: 11/5/2024
Present: The+RQRUDEOH Shashi H. Kewalramani
Interpreter                                                                            /DQJXDJH

Dana Cisneros                                           CourtSmart RS No. 4                              Mitchell Sulliman
                    Deputy Clerk                                   Court Reporter / Recorder                    Assistant U.S. Attorney


 U.S.A. v. Defendant(s)       ✔   Present In Custody                               Attorneys for Defendants:     Present   CJA
Lisa Puente-1; Arthur Marquez-2                                                  Mariah Holder, DFPD; David J. Kaloyanides, CJA
Proceedings: $UUDLJQPHQWRI                     $VVLJQPHQWRI&DVH            ✔    $SSRLQWPHQWRI&RXQVHO
'HIHQGDQWDQGRU                            ✔   ,QLWLDO$SSHDUDQFH


* Government withdraws permanent detention of defendant(s) Lisa Puente-1; Arthur Marquez-2.
* Bond has been set in the amount of:
   $20,000 for defendant Lisa Puente
   $10,000 for defendant Arthur Marquez
* Unsecured Appearance Bonds for defendant(s) Lisa Puente-1; Arthur Marquez-2.
* See attached copy of the bonds.
* Electronic Release Order issued-
   Defendant Lisa Puente (released 11/5/24);
   Defendant Arthur Marquez (released 11/5/24)

* Court issues Order under Fed. R. Crim. P. 5(f) concerning prosecutor's disclosure obligations; see General
Order 21-02 (written order).




cc36$/$✔ 36$(' 36$6$
860/$             ✔ 860('            8606$            ,QLWLDO$SSHDUDQFH$SSRLQWPHQWRI&RXQVHO               : 55
6WDWLVWLFV&OHUN                      ,QWHUSUHWHU                                      $UUDLJQPHQW             :4
&-$6XSHUYLVLQJ$WWRUQH\                )LVFDO
                                                                                           Initials of Deputy Clerk   DC

CR-11$                                               Criminal Minutes – $UUDLJQPHQW                                                       3DJH
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 3 of 14 Page ID #:41
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 4 of 14 Page ID #:42
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 5 of 14 Page ID #:43
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 6 of 14 Page ID #:44
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 7 of 14 Page ID #:45
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 8 of 14 Page ID #:46
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 9 of 14 Page ID #:47
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 10 of 14 Page ID #:48
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 11 of 14 Page ID #:49
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 12 of 14 Page ID #:50
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 13 of 14 Page ID #:51
Case 5:24-cr-00245-KK   Document 12   Filed 11/05/24   Page 14 of 14 Page ID #:52
